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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS

NEGIN KHOLUSI, MILANIA FEQUIERE, MIAVA

FEQUIERE
(b) County of Residence o

f First Listed Piaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

SALVATORE P.J. VITO, ESQUIRE

45 NORTH 7TH

STREET

STROUDSBURG PA 18360

Henry County, GA

DEFENDANTS

NOTE:

Attorneys (if Known)

 

THERMO FISHER SCIENTIFIC, INC. et al.

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

TN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an “x” in One Box Only)

[_]1 U.S. Government
Plaintiff

[_]2. U.S. Government
Defendant

IV. N

  

CONTRACT
110 Insurance

120 Marine
130 Miller Act
L] 150 Recovery of Overpayment
& Enforcement of Judgment
H 151 Medicare Act
Student Loans
(Excludes Veterans)
OC 153 Recovery of Overpayment
[_] 160 Stockholders’ Suits
{_]190 Other Contract
H 195 Contract Product Liability
EJ 220 Foreclosure
230 Rent Lease & Ejectment
240 Torts to Land
[_]290 AU Other Real Property

140 Negotiable Instrument
152 Recovery of Defaulted
of Veteran’s Benefits
196 Franchise
—— REAL PROPERTY =
210 Land Condemnation
245 Tort Product Liability

ATURE OF SUIT (Place an “X” in One Box Onl

CJ 3 Federal Question
(U.S. Government Not a Party)

[x] 4 Diversity
(Indicate Citizenship of Parties in Item III)

 

  

TORTS ees
PERSONAL INJURY

   

 

PERSONAL INJURY
310 Airplane (] 365 Personal Injury -
315 Airplane Product Product Liability
Liability [_] 367 Health Care/
x | 320 Assault, Libel & Pharmaceutical
Slander Personal Injury
CI 330 Federal Employers’ Product Liability
Liability CT 368 Asbestos Personal
340 Marine Injury Product
345 Marine Product Liability
Liability PERSONAL PROPERTY
350 Motor Vehicle 370 Other Fraud
355 Motor Vehicle H 371 Truth in Lending
Product Liability [_] 380 Other Personal
360 Other Personal Property Damage
Injury C] 385 Property Damage
362 Personal Injury - Product Liability
Medical Malpractice
TEIVIL RIGHIS — “PRISONER PETITION
440 Other Civil Rights Habeas Corpus:
441 Voting [| 463 Alien Detainee
442 Employment | | 510 Motions to Vacate
443 Housing/ Sentence
Accommodations [| 530 General
445 Amer. w/Disabilities - T | 535 Death Penalty
Employment __ Other:
446 Amer. w/Disabilities -[ | 540 Mandamus & Other
Other 550 Civil Rights
|] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

  

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PIF DEF
Citizen of This State CJ]1 [2] 1 Incorporated or.Principal Place L}4 (44
of Business In This State
Citizen of Another State M2 OC 2 Incorporated and Principal Place C 5 [x] 5
of Business In Another State
Citizen or Subject of a [13 (1) 3 Foreign Nation [le (j6

Foreign Country

FORFEITURE/PENALTY

| 625 Drug Related Seizure
of Property 21 USC 881
| 1690 Other

 
  

710 Fair Labor Standards
Act
| 720 Labor/Management
Relations
740 Railway Labor Act ~
751 Family and Medical
Leave Act

790 Other Labor Litigation
791 Employee Retirement
Income Security Act

462 Naturalization Application
465 Other Immigration

Actions

 

   
 

   

4

 

 
 

  

 

 

Click here for: Nature of Suit Code Descriptions.
: BANKRUPTCY 2 = | OTHER STATUTES }

 

 

 

H 422 Appeal 28 USC 158 375 False Claims Act
423 Withdrawal 376 Qui Tam (31 USC
28 USC 157 3729(a))
|] 400 State Reapportionment
410 Antitrust
820 Copyrights |_| 430 Banks and Banking
830 Patent 450 Commerce
835 Patent - Abbreviated | 460 Deportation
New Drug Application [|| 470 Racketeer Influenced and
840 Trademark Corrupt Organizations
880 Defend Trade Secrets | 480 Consumer Credit
(15 USC 1681 or 1692)

     
 
 
 
  

Act of 2016
. |] 485 Telephone Consumer

- : S Protection Act
861 HIA (1395fF) 490 Cable/Sat TV
862 Black Lung (923) 850 Securities/Commodities/
863 DIWC/DIWW (405(g)) Exchange

864 SSID Title XVI | 890 Other Statutory Actions
|_| 891 Agricultural Acts
893 Environmental Matters

|_| 895 Freedom of Information

 

Act
or Defendant) 896 Arbitration
871 IRS—Third Party 899 Administrative Procedure
26 USC 7609 Act/Review or Appeal of

Agency Decision
|] 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Piace an “X” in One Box Only)

1 Original
Ee] Proceeding

VI. CAUSE OF ACTION

C2 Removed from
State Court

3 Remanded from
Appellate Court

28 U.S.C. Section 1332
Brief description of cause:

 

Reopened

C14 Reinstated or O 5 Transferred from
Another District

(specify)

Defamation, Emotional distress, Negligent supervision

6 Multidistrict
Litigation -
Transfer

oO 8 Multidistrict
Litigation -
Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity).

 

 

 

 

 

VIL REQUESTED IN  [] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $100,000 JURY DEMAND: ix] Yes CINo
VII. RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE / / 2. D SIGNATURE OF ATTORNEY OF RECORD
/- —)° ‘
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 5:22-cv-04366-JMG Document1 Filed 11/01/22 Page 2 of 6

LAW OFFICE OF SALVATORE P.J. VITO, P.C.
Salvatore P.J. Vito, Esquire

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(570) 424-8890

Attorney for Plaintiffs

UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

NEGIN KHOLUSI and her daughters,
MILANIA FEQUIERE and
MIAVA FEQUIERE, (minors)
Plaintiffs, : No.
V. :
: Judge:
THERMO FISHER SCIENTIFIC, INC., and/or
THERMO FISHER SCIENTIFIC, INC. d/b/a ~
FISHER CLINICAL SERVICES and/or;
PHARMA SERVICES GROUP, and
VICTORIA R. REGAN,

Defendants.

 

COMPLAINT

AND NOW come the Plaintiffs, by and through counsel, Salvatore P.J. Vito, Esq., and
file this Complaint against the Defendants above-named as follows:

PARTIES

1. Plaintiff, Negin Kholusi is a competent adult individual residing in the state of Georgia
with her minor daughters, Plaintiffs Milania Fequiere and Miava Fequiere.

2. Defendants, Thermo Fisher Scientific, Inc. and/or Thermo Fisher Scientific, Inc. d/b/a,
Fisher Clinical Services and/or Pharma Services Group, is a Delaware business corporation with
a principal place of business in Massachusetts.

3, Defendant, Victoria R. Regan, is a competent adult individual who is an agent and/or
employee of Thermo Fisher Scientific, Inc. and/or its affiliates or subsidiaries above-named.
Said Defendant holds a supervisory position of Senior Program Manager, Digital Supply Chain
Solutions-Pharma Services Group and resides/is employed in Lehigh County, Pennsylvania.
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JURISDICTION

4, Jurisdiction is founded on diversity of citizenship and amount: Plaintiffs are citizens of
the State of Georgia and all Defendants exist under the laws of the State of Delaware and have a
principal place of business in the Commonwealth of Massachusetts. None of the Defendants
exist under the laws of the State of Georgia or maintain a principal place of business in the State
of Georgia. The matter in controversy exceeds, exclusive of interest and costs, the sum specified
by 28 U.S.C. §1332.

FACTS

5. Plaintiff, Negin Kholusi, and her children, were first verbally attacked by Defendant
Victoria R. Regan on November 4, 2021, via defamatory comments on the internet. Thereafter, a
pattern of abuse continued with multiple verbal attacks upon Plaintiff Negin Kholusi and her
children concerning their character and reputation in their community.

6. Plaintiff conducted the aforesaid attacks during the scope of her.employment with
corporate Defendants, while acting in the capacity of a supervisor and/or upper management, and
while utilizing the mobile phone(s) and computer(s) provided to her by her employer.

FIRST CAUSE OF ACTION - DEFAMATION

7. The foregoing allegations are incorporated herein by reference as fully as if set forth
herein at length.

8. Defendant, Victoria R. Regan, an agent/employee of corporate Defendants,
communicated and published statements of a defamatory character which were applicable to
Plaintiff Negin Kholusi and her minor children, the recipient understood the defamatory meaning
of the communications applicable to Plaintiffs, Plaintiffs were specially harmed by the
publication, and Defendant abused a conditional privilege. ,

9. Defendant, Victoria R. Regan, an agent/employee of corporate Defendants, knew or
should have known that said defamatory statements were false.

10. | Corporate Defendants are vicariously liable for the actions of its agent/employee,

SECOND CAUSE OF ACTION — INTENTIONAL INFLICTION OF EMOTIONAL
DISTRESS

11. The foregoing allegations are incorporated herein by reference as fully as if set forth
herein at length.

12. Since the wrongful incidents above-described, Plaintiffs have suffered emotional distress.

13. Plaintiffs have suffered emotional distress as a direct result of Defendants’ intentional
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conduct.

THIRD CAUSE OF ACTION - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

14. The foregoing allegations are incorporated herein by reference as fully as if set forth
herein at length.

15. Since the wrongful incidents above-described, Plaintiffs have suffered emotional distress.

16. Plaintiffs have suffered emotional distress as a direct result of Defendants’ careless and
negligent conduct.

FOURTH CAUSE OF ACTION — FALSE LIGHT

17. The foregoing allegations are incorporated herein by reference as fully as if set forth
herein at length.

18. Plaintiffs, at the times herein and since birth, have been persons of good name and
reputation and were deservedly enjoying the esteem and good opinion of diverse persons in their
vocational and social pursuits.

19. Defendants, individually and/or by and through their agent/employee, intentionally,
falsely and maliciously made unprivileged accusatory statements of and concerning Plaintiffs.
The statements of Defendants are wholly false and apply to Plaintiffs.

20. Defendants, by their conduct expressly or by innuendo, published false conclusions
regarding Plaintiffs.

21. At the time of publication, Defendants knew or should have known that the implications
regarding Plaintiffs were untrue.

22.  Asaresult of Defendants’ false light, Plaintiffs have been greatly upset, humiliated and
injured in good name and reputation, all of which has been to great loss and damage.

FIFTH CAUSE OF ACTION — NEGLIGENT SUPERVISION
Plaintiffs v. Corporate Defendants

23. The foregoing allegations are incorporated herein by reference as fully as if set forth
herein at length.

24. Defendants’ carelessness, negligence, recklessness, and/or unlawfulness consisted ot, but
was not limited to the following:

a. Defendants hired, employed and promoted the various agents, servants,
workmen, and/or employees who had the responsibility or obligation to
properly execute their duties, to wit, Victoria R. Regan;
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b. Defendants permitted the various agents, servants, workmen and/or employees
who had the responsibility to properly execute their duties to continue to work
as such, when said corporate Defendants knew and/or should have known that
said agents, servants, workmen and/or employees were unable to and/or
incapable of properly performing the requirements of their respective
employments, to wit, Victoria R. Regan;

c. Defendants failed to establish procedures and programs to determine whether
employees and/or potential employees were and are fit and capable of
performing the requirements of their respective employment, to wit, Victoria
R. Regan;

d. Defendants were otherwise negligent, careless, reckless and/or unlawful under
the circumstances in the hiring, employing, training, supervision, and/or
promoting the various agents, servants, workmen and/or employees who were
responsible and obligated to properly execute their duties, to wit, Victoria R.
Regan; and

e. Defendants failed to adopt, promulgate and enforce policies and procedures to
effectuate the observation and supervision of their agents/employees, to wit,
Victoria R. Regan.

DAMAGES

26. Asa direct and proximate result of the foregoing, Plaintiffs suffered damages including,
but not limited to, damage to character and reputation, embarrassment, humiliation, harassment,
emotional distress, and loss of income.

27. Corporate Defendants are directly liable for negligence and vicariously liable for the
actions of its agent/employee, Defendant, Victoria R. Regan.

WHEREFORE, Plaintiffs claim compensatory damages from all Defendants in an

amount in excess of $100,000.00 plus punitive damages, costs, reasonable attorney fees and such
other relief as the court deems just and proper.

JURY DEMAND

Plaintiff demands a trial by jury.
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Respectfully submitted,
LAW OFFICE OF SALVATORE P.J. VITO, P.C.

/s/ SALVATORE P.J. VITO, ESQUIRE
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Counsel for Plaintiffs
